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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

                          Plaintiff,

                    v.                                  Civil Action No. 21-2886-FYP

 BERTELSMANN SE & CO. KGaA,
 PENGUIN RANDOM HOUSE, LLC,
 VIACOMCBS, INC., and
 SIMON & SCHUSTER, INC.,

                          Defendants.



                                             ORDER

       This matter comes before the Court after a trial on the merits in the United States’ suit to

enjoin the merger of Penguin Random House, LLC, and Simon & Schuster, Inc., under Section 7

of the Clayton Act. See 15 U.S.C. § 18. Upon review of the extensive record and careful

consideration of the parties’ arguments, the Court finds that the United States has shown that

“the effect of [the proposed merger] may be substantially to lessen competition” in the market

for the U.S. publishing rights to anticipated top-selling books. See id. Accordingly, judgment

shall be entered in favor of the Plaintiff and the merger shall be enjoined.

       The Court’s reasoning is set forth in the accompanying Memorandum Opinion, which is

issued under seal because it contains “confidential information” and/or “highly confidential

information,” as defined in the Stipulated Protective Order, see ECF No. 38. The parties shall

meet and confer and will jointly file proposed redactions to the Memorandum Opinion by
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November 4, 2022. After considering the proposed redactions, the Court will issue a public

version of the Memorandum Opinion.



Accordingly, it is hereby ordered that:

   1. Defendants are hereby enjoined and restrained from consummating the proposed merger,

       or otherwise effecting a combination of Penguin Random House, LLC, and Simon &

       Schuster, Inc.; and it is further ordered that

   2. Defendants shall take any and all necessary steps to prevent any of their officers,

       directors, domestic or foreign agents, divisions, subsidiaries, affiliates, partnerships, or

       joint ventures from consummating, directly or indirectly, any such merger, or otherwise

       effecting any combination of Penguin Random House, LLC, and Simon & Schuster, Inc.

   3. On or before November 4, 2022, the parties shall meet and confer and jointly file

       proposed redactions of “confidential information” and “highly confidential information”

       as defined in the Stipulated Protective Order.


SO ORDERED.



                                                        ______________________________
                                                        FLORENCE Y. PAN
                                                        United States Circuit Judge
                                                        (Sitting by designation in the United States
                                                        District Court for the District of Columbia)


Dated: October 31, 2022




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